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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

SUVANNA THANASOMBAT, et al., No. CV 13-06762-UA (VBK)

ORDER SUMMARILY REMANDING
IMPROPERLY-REMOVED ACTION

Plaintiffs,
Vv.
RACHTD ROUHI, et al.,

Defendants.

 

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The Court will remand this “Complaint for Unlawful Detainer -

‘Amount Does Not Exceed $10,000,” Case No. 13 PO3171, to state court

summarily because Defendants removed it improperly.
On September 13, 2013, Defendants Rachid Rouhi and Anita
Hiranyakarn, having been sued in what appears to be a routine unlawful

detainer action in California state court, lodged a Notice Of Removal

of that action to this Court and also presented an application to

proceed in forma pauperis. The Court has denied the latter
applications under separate cover because the action was not properly
removed. To prevent the action from remaining in jurisdictional

limbo, the Court issues this Order to remand the action to state

 
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court.

Simply stated, Plaintiff could not have brought this action in
federal court in the first place, in that Defendant does not
competently allege facts supplying either diversity or federal-
question jurisdiction, and therefore removal is improper. 28 U.S.C.
§ 1441(a); see Exxon Mobil Corp v. Allapattah Svcs., Inc., 545 U.S.
546, 563 (2005). Even if complete diversity of citizenship exists,
the amount in controversy does not exceed the diversity-jurisdiction
threshold of $75,000. See 28 U.S.C. §§ 1332, 1441(b). On the
contrary, the unlawful-detainer complaint recites that the amount in
controversy does not exceed $10,000.

Nor does Plaintiff's unlawful detainer action raise any federal

‘legal question. See 28 U.S.C. §§ 1331, 1441(b).

Accordingly, IT IS ORDERED that (1) this matter be REMANDED to
the Superior Court of California, los Angeles County, Northeast
District, 88 North Greenwood Avenue, Pasadena, California 91107 for
lack of subject matter jurisdiction pursuant to 28 U.S.C. § 1447(c);
(2) that the Clerk send a certified copy of this Order to the state
court; and (3) that the Clerk serve copies of this Order on the
parties.

IT IS SO ORDERED.

DATED: Bre [1 [

HONORABLE GEORGE H./KIN
CHIEF UNITED STATES DISJSRICT JUDGE

 
